                Case 2:18-cr-00131-RAJ Document 659 Filed 03/27/19 Page 1 of 3




1                                                              The Honorable Richard A. Jones
2
3
4
5
6
7                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
8
                                        AT SEATTLE
9
10
       UNITED STATES OF AMERICA,                         NO. CR18-131RAJ
11
                                Plaintiff,
                                                         ORDER GRANTING STIPULATED
12
                           v.                            MOTION TO CONTINUE TRIAL DATE
13                                                       AND OTHER DEADLINES
       JEROME RAY WILSON,
14
                                Defendant.
15
16
             This matter comes before the Court on the stipulated motion of the government
17
     and Defendant Jerome Ray Wilson to continue the trial date to correspond with the trial
18
     date as to the other co-defendants charged in this and the related matters. Having
19
     considered the motion and all the files and records herein, the Court finds and rules as
20
     follows:
21
             The facts supporting continuing the trial and excluding the consequent delay are
22
     set forth in the Stipulated Motion to Continue, incorporated by this reference, and have
23
     been discussed at prior status conferences. They include the following: (a) the very large
24
     number of defendants charged; (b) the large number of charged counts; (c) the number of
25
     related indictments; (d) the nature of the prosecution, which includes wiretaps over
26
     multiple phone lines; and (e) the volume of discovery produced, and still to be produced.
27
28                                                                        UNITED STATES ATTORNEY
      Order Granting Motion to Continue - 1
                                                                              700 STEWART STREET,
      U.S. v. Wilson, CR18-131RAJ
                                                                                   SUITE 5220
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
              Case 2:18-cr-00131-RAJ Document 659 Filed 03/27/19 Page 2 of 3




 1          THIS COURT FINDS, pursuant to Title 18, United States Code, Section
 2 3161(h)(7)(B)(i) and (ii) that this case is the case is sufficiently unusual and complex, due
 3 the combination of the number of defendants, the nature of the prosecution, as well as the
 4 existence of novel questions of fact, that it is unreasonable to expect adequate preparation
 5 by the parties for pretrial proceedings or for the trial itself by the current trial date, or for
 6 the immediate future.
 7          THE COURT THEREFORE FINDS that failure to grant the continuance in this
 8 case would likely make the continuation of these related proceedings impossible and
 9 result in a miscarriage of justice, because failing to continue this matter for a considerable
10 period of time would deny counsel for the parties the reasonable time necessary for
11 effective preparation, due to defense counsels’ need for more time to review the
12 considerable volume of discovery and evidence produced, and still to be produced, and to
13 consider possible defenses and motions, taking into account the exercise of due diligence.
14          THE COURT FINDS, in light of these factors, that it is unlikely that the parties
15 can be reasonably ready to try this matter before September 9, 2019.
16          THIS COURT FINDS, pursuant to Title 18, United States Code, Section
17 3161(h)(6) and (7), that this is a reasonable period of delay in that the Defendant has
18 indicated he requires more time to prepare for trial. The Court finds that given the
19 complexity of the case, the number of defendants, and the volume of discovery produced,
20 and still to be produced, that more time is, in fact, necessary.
21          THIS COURT FINDS, therefore, that pursuant to Title 18, United States Code,
22 Sections 3161(h)(6) and 3161(h)(7), the ends of justice will best be served by a
23 continuance, and that they outweigh the interests of the public and the Defendant in a
24 speedy trial.
25          THIS COURT FURTHER FINDS that all of the additional time requested
26 between the current trial date of and the new trial date of September 9, 2019, is necessary
27 to provide counsel for the defendant the reasonable time necessary to prepare for trial.
28                                                                           UNITED STATES ATTORNEY
     Order Granting Motion to Continue - 2
                                                                                 700 STEWART STREET,
     U.S. v. Wilson, CR18-131RAJ
                                                                                      SUITE 5220
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
              Case 2:18-cr-00131-RAJ Document 659 Filed 03/27/19 Page 3 of 3




 1          THE COURT FURTHER FINDS, that this Defendant is charged with and joined
 2 to other Defendants in this matter. This case and the related cases arise out of a common
 3 investigation, including common wiretap applications and a common search warrant
 4 application. It is well established that in multi-defendant cases, a reasonable trial
 5 continuance as to any defendant tolls the Speedy Trial Act period as to all joined co-
 6 defendants, even those who object to a trial continuance or who refuse to submit a waiver
 7 under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(6). Trial as to the other defendants
 8 has already been continued to September 9, 2019.
 9          NOW, THEREFORE, IT IS HEREBY ORDERED that the parties’ stipulated
10 motion (Dkt. #658) is GRANTED. The trial date will be continued as to this Defendant
11 until September 9, 2019 at 9:00 a.m.
12          IT IS HEREBY ORDERED that other case deadlines shall be set per a separate
13 Complex Case Management Order.
14          IT IS FURTHER ORDERED that the time between the date of this Order and the
15 new trial date of September 9, 2019, is excluded in computing the time within which a
16 trial must be held pursuant to Title 18, United States Code, Section 3161, et seq.
17          DATED this 27th day of March, 2019.
18
19                                                    A
20                                                    The Honorable Richard A. Jones
21                                                    United States District Judge
22
23
24
25
26
27
28                                                                        UNITED STATES ATTORNEY
     Order Granting Motion to Continue - 3
                                                                              700 STEWART STREET,
     U.S. v. Wilson, CR18-131RAJ
                                                                                   SUITE 5220
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
